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                                                         Attorneys at Law
                                                  32-72 Steinway Street, Suite 402
                                                     Astoria, New York 11103
Frank A. Ortiz (1931 to 2016)                                                                     Tel. (718) 522-1117
Norma E. Ortizw                                                                                   Fax (718) 596-1302
  ________                                                                                        email@ortizandortiz.com
Jeannette Ortiz-Haussman, Of Counsel
Kay Uswatte, Of Counsel
Maria Perez Brown, Of Counsel
w
    (Admitted in New York and New Jersey)


                                                                               October 28, 2019



                Hon. Martin Glenn
                United States Bankruptcy Court
                One Bowling Green
                New York, New York 10004
                                                       Re:     Joe’s Place of the Bronx, NY, Inc.
                                                               Chapter 11 Case No. 17-11542

                                                               Amended Status Report and Proposed Order

                Dear Judge Glenn:

                         I have emailed Your Honor’s Chambers the attached order requesting that the Court
                conditionally approve the Debtor’s Disclosure Statement and set deadlines for a hearing on final
                approval of the Disclosure Statement and confirmation of the Plan of Reorganization. The Plan
                and Disclosure Statement were filed on August 21st and were circulated among counsel to the
                Debtor’s Landlord, counsel to the New York State Department of Taxation and Finance
                (“NYSDTF”), and the U.S. Trustee. No one else has participated in any of the hearings or
                status conferences before the Court. NYSDTF is the Debtor’s largest creditor and has agreed to
                the terms of the Plan so long as (1) plan payments are mailed to its counsel and (2) default
                language is added to the Plan. I have made those changes to the Plan and will file the amended
                plan once I obtain the Debtor’s signature on this second amended plan. The second amended
                plan with not contain any substantive changes to the first amended plan that was filed on August
                21st.

                        I obtained the U.S. Trustee’s express consent to the conditional approval of the
                Disclosure Statement. I have obtained comments from NYSDTF and have incorporated all of
                its counsel’s requests for amendments to the Plan. The comments did not affect any of the
                material terms of the Plan. I have not received any specific comments from the Landlord but
                Landlord’s counsel has consented to the Debtor’s request to combine final approval of the Plan
                and Disclosure Statement.
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 Hon. Martin Glenn
 October 28, 2019
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          I believe that the only substantive outstanding issue is the Landlord has not provided the
 Debtor with a final amount for the amount of additional rent it seeks and for the terms of
 repayment of the additional rent. The last request sent to the Debtor was for $37,000. The Plan
 is worded in a manner that allows for an agreement between the Debtor and the Landlord to
 satisfy this amount. I believe that the Debtor and the Landlord will reach an agreement for
 payment of this amount and do not believe this issue should prevent the Debtor from proceeding
 with its request for a combined hearing on approval of the Disclosure Statement and Plan. I
 have not received any request from Landlord’s counsel that the Debtor cease prosecuting its
 Plan.

         Should the Court grant the Debtor’s request and enter the proposed order, the Debtor
 requests that notice of the hearing be no less than 31 days after service order to ensure that
 creditors receive the notice required by Bankr. Rule 2002.

        Thank you for your time and consideration.
                                                              Very truly yours,

                                                              /s/Norma E. Ortiz

                                                              Norma E. Ortiz
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re                                                            Chapter 11

JOE’S PLACE OF THE BRONX, NY, INC.,                              Case No. 17-11542-mg

                                    Debtor.
--------------------------------------------------------X


  EX PARTE ORDER CONDITIONALLY APPROVING DISCLOSURE STATEMENT,
   FIXING TIME FOR FILING ACCEPTANCES OR REJECTIONS OF THE PLAN,
      FIXING THE TIME FOR FILING OBJECTIONS TO THE DISCLOSURE
   STATEMENT AND TO THE CONFIRMATION OF THE PLAN, AND SETTING A
    HEARING ON FINAL APPROVAL OF THE DISCLOSURE STATEMENT AND
                HEARING ON CONFIRMATION OF THE PLAN

        This matter having been brought before the Court by Joe's Place of the Bronx, Inc. (the

“Debtor”), through counsel, Ortiz & Ortiz, L.L.P., and upon the filing of the Debtor's Amended

Plan of Reorganization dated August 21, 2019 (the “Plan”) and the Amended Disclosure

Statement dated August 21, 2019 (the “Disclosure Statement”); and it appearing that the Office

of the U.S. Trustee having reviewed the Disclosure Statement and having no opposition to its

conditional approval; and the Plan and Disclosure Statement having been provided to the

Debtor’s Landlord, the Estate of Harry Katz (the “Landlord”) and the New York State

Department of Taxation and Finance (“NYSDTF”); and the Landlord and NYSDT having no

opposition to the Debtor seeking a combined hearing on approval of the Disclosure Statement

and confirmation of the Plan; and the Court having found that relief sought herein is warranted

under the circumstances of this case;

        IT IS HEREBY ORDERED THAT:

        1.       The Amended Disclosure Statement dated August 21 2019, and filed by the

Debtor is conditionally approved;

        2.       Within five (5) days after the entry of this Order, the Debtor’s Plan and
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Disclosure Statement and the annexed Notice of Deadlines and Hearing on Final Approval of

Disclosure Statement substantially confirming to the Notice annexed as Exhibit A, and a ballot

substantially conforming to Official Bankruptcy Form 314 shall be mailed to creditors, equity

security holders, and other parties in interest, and shall be transmitted to the United States

Trustee;

       3.      _____________, 2019, is fixed as the last day for filing and serving written

objections to the Disclosure Statement and confirmation of the Plan;

       4.      ____________, 2019, is fixed as the last day for filing written acceptances or

rejections of the Plan;

       5.      A hearing shall be held on _____________, 2019 at          __.m. for final approval of

the Disclosure Statement and for confirmation of the Plan before the Honorable Martin Glenn,

United States Bankruptcy Court for the Southern District of New York, One Bowling Green,

New York, New York 10004.

       6.      The Combined Hearing may be adjourned from time to time, if necessary; notice

of such adjourned date(s) shall be available on the electronic case filing docket.




New York, New York
_______________, 2019


                                                              _________________________
                                                              Martin Glenn
                                                              U.S. Bankruptcy Judge
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                               EXHIBIT A
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ORTIZ & ORTIZ, L.L.P.                                            Hearing Date and Time:
32-72 Steinway Street                                            ____, 2019 at _______
Astoria, New York 11103
Norma E. Ortiz                                                   Deadline to:
Maria Perez-Brown                                                1. Object to the Disclosure Statement
Tel. (718) 522-1117                                              And Confirmation of the Plan:
Fax (718) 596-1302                                               ___, 2019
email@ortizandortiz.com
Attorneys for the Debtor                                         2. Deliver Completed Ballots:
                                                                  ___, 2019

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re                                                            Chapter 11

JOE’S PLACE OF THE BRONX, NY, INC.,                              Case No. 17-11542-mg

                                    Debtor.
--------------------------------------------------------X


 NOTICE OF DEADLINES AND HEARING ON FINAL APPROVAL OF DISCLOSURE
           STATEMENT AND CONFIRMATION OF THE DEBTOR’S
                     PLAN OF REORGANIZATION

        PLEASE TAKE NOTICE, that on ___________, 2019, the Court entered the enclosed

Order Conditionally Approving the Debtor’s Disclosure Statement, Fixing Time for Filing

Acceptances or Rejections of the Plan, and Fixing the Time for Filing Objections to the

Disclosure Statement and to the Confirmation of the Plan, and Setting a Hearing on Final

Approval of the Disclosure Statement and Hearing on Confirmation of the Plan (hereinafter, the

“Order”); and

        PLEASE TAKE FURTHER NOTICE THAT, as set forth in the Order, the last day for

filing and serving written objections to the Disclosure Statement and confirmation of the Plan is

_______ ___, 2019. Any such objection must be made in writing and shall state with

particularity the grounds therefor, and shall be filed with the Clerk of the Bankruptcy Court by
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electronic means (with a copy to Chambers), and served upon and received by, Norma E. Ortiz,

Esq., Ortiz & Ortiz, L.L.P.,32-72 Steinway Street, Ste. 402, Astoria, New York 11103, and the

United States Trustee’s Office, 201 Varick Street, Suite 1006, New York, New York 10014, so

as to be actually received no later than the date set forth herein; and

       PLEASE TAKE FURTHER NOTICE THAT, as set forth in the Order, the last day for

delivering written acceptances or rejections of the Plan is __________, 2019. Any such written

acceptances or rejections must be delivered so as to be received by Norma E. Ortiz, Esq., Ortiz

& Ortiz, L.L.P., 32-72 Steinway Street, Ste. 402, Astoria, New York 11103, no later than 5:00

p.m. on ______ ___, 2019, and also must conform to the ballot enclosed; and

       PLEASE TAKE FURTHER NOTICE THAT, as set forth in the Order, on ________,

2019, at ______ __.m., or as soon thereafter as counsel may be heard, a hearing will be held to

consider final approval of the Disclosure Statement (if a written objection has been timely filed)

and for confirmation of the Plan before the Martin Glenn, United States Bankruptcy Court for

the Southern District of New York, One Bowling Green, New York, New York 11201.

Dated: _________, 2019
       Astoria, New York
                                                         /s/Norma E. Ortiz
                                                       Norma E. Ortiz
                                                       Ortiz & Ortiz, L.L.P.
                                                       32-72 Steinway Street, Ste. 402
                                                       Astoria, New York 11103
                                                       Tel. (718) 522-1117
